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11
12               IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14   NORA PHILLIPS; ERIKA
     PINHEIRO; and NATHANIEL
15   DENNISON,
                       Plaintiffs,
16
           v.                                CASE NO. 2:19-CV-6338-SVW-JEM
17
18
     UNITED STATES CUSTOMS AND
19   BORDER PROTECTION; MARK
     MORGAN, in his official capacity as     ANSWER TO PLAINTIFFS’ FIRST
20   Acting Commissioner of U.S. Customs     AMENDED COMPLAINT
     and Border Protection; UNITED
21   STATES IMMIGRATION AND
     CUSTOMS ENFORCEMENT;
22   MATTHEW ALBENCE, in his official
     capacity as acting director of United
     States Immigration and Customs          Honorable Stephen V. Wilson
23
     Enforcement; FEDERAL BUREAU             United States District Judge
24   OF INVESTIGATION; and
     CHRISTOPHER WRAY, in his official
25   capacity as director of the Federal
     Bureau of Investigation,
26
                        Defendants.
27
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 1          Defendants U.S. Customs and Border Protection (“CBP”), United States
 2   Immigration and Customs Enforcement (“ICE”) and Federal Bureau of Investigation
 3   (“FBI”) (collectively, “Defendants”), through their undersigned attorneys, hereby
 4   answers each numbered paragraph of Plaintiffs’ First Amended Complaint (ECF No.
 5   16). Unless specifically admitted, Defendants deny each of the First Amended
 6   Complaint’s allegations.
 7                                    INTRODUCTION1
 8          1.     No answer is required for this paragraph because it contains Plaintiffs’
 9   characterization of this lawsuit, argument, and conclusions of law.
10          2.     Defendants lack knowledge or information sufficient to form a belief
11   about the truth of the allegations in this paragraph.
12          3.     Defendants admit only that CBP, ICE and FBI are federal agencies
13   responsible for, among other things, policing the border, enforcing immigration laws,
14   and investigating criminal activity. The remaining allegations in this paragraph consist
15   of argument and conclusions of law to which no response is required. To the extent
16   a response is required, deny.
17          4.     Defendants lack knowledge or information sufficient to sufficient to
18   form a belief about the truth of the allegations in the first two sentences of this
19   paragraph. The remaining allegations in this paragraph are denied.
20          5.     Defendants lack knowledge or information sufficient to sufficient to
21   form a belief about the truth of the allegations in the first sentence of this paragraph.
22   The remaining allegations in this paragraph are denied.
23          6.     Defendants lack knowledge or information sufficient to sufficient to
24   form a belief about the truth of the allegations in the first two sentences of this
25   paragraph.    Defendants admit that they maintain records describing Plaintiff
26   1
       To the extent that the headings and non-numbered statements in the First Amended Complaint
27   contain any averments, Defendants deny each and every such averment.


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 1   Dennison’s border crossing history, and information provide and discussed in his
 2   January 2019 interview. Defendants deny the remaining allegations in the third,
 3   fourth, and fifth sentences of this paragraph.
 4         7.     Denied.
 5         8.     This paragraph characterizes a news article, along with the purported
 6   reaction of “civil society organizations,” members of Congress, and the DHS
 7   inspector general, to which no response is required. The Court is respectfully referred
 8   to the cited news article, and to Plaintiffs’ claimed accompanying statements and
 9   investigation, for a full and accurate statement of their contents.
10         9.     No answer is required for this paragraph because it contains Plaintiffs’
11   characterization of this lawsuit, argument, and conclusions of law. To the extent a
12   response to required, deny.
13                                     JURISDICTION
14         10.    No answer is required for this paragraph because it contains conclusions
15   of law regarding jurisdiction.
16         11.    No answer is required for this paragraph because it contains conclusions
17   of law regarding jurisdiction.
18                                          VENUE
19         12.    No answer is required for this paragraph because it contains conclusions
20   of law regarding venue.
21                                         PARTIES
22   I.    Plaintiffs
23         A.     Nora Phillips
24         13.    Defendants lack knowledge or information sufficient to form a belief
25   about the truth of the allegations in this paragraph.
26         14.    Defendants lack knowledge or information sufficient to form a belief
27   about the truth of the allegations in this paragraph.


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 1         15.    Defendants lack knowledge or information sufficient to form a belief
 2   about the truth of the allegations in this paragraph.
 3         16.    Defendants lack knowledge or information sufficient to form a belief
 4   about the truth of the allegations in this paragraph.
 5         B.     Erika Pinheiro
 6         17.    Defendants lack knowledge or information sufficient to form a belief
 7   about the truth of the allegations in this paragraph.
 8         18.    Defendants lack knowledge or information sufficient to form a belief
 9   about the truth of the allegations in this paragraph.
10         19.    Defendants lack knowledge or information sufficient to form a belief
11   about the truth of the allegations in this paragraph.
12         20.    Defendants lack knowledge or information sufficient to form a belief
13   about the truth of the allegations in this paragraph.
14         21.    Defendants lack knowledge or information sufficient to form a belief
15   about the truth of the allegations in this paragraph.
16         C.     Nathaniel Dennison

17         22.    Defendants lack knowledge or information sufficient to form a belief

18   about the truth of the allegations in the first three sentences of this paragraph.

19   Plaintiffs deny the final sentence of this paragraph.

20         23.    Defendants lack knowledge or information sufficient to form a belief

21   about the truth of the allegations in this paragraph.

22   II.   Defendants
           24.    Defendants admit that U.S. Customs and Border Protection (CBP) is a
23
     component within the Department of Homeland Security (DHS), and that CBP’s
24
     responsibilities include securing the United States borders in the land, air, and sea
25
     environments and both at and between ports of entry. Admit the second sentence.
26
           25.    Admitted.
27


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 1         26.    Admitted.
 2         27.    Admitted.
 3         28.    Defendants deny that the FBI “collaborated with CBP and ICE in their
 4   investigation and surveillance of Plaintiffs.”     The remaining allegations in this
 5   paragraph are admitted.
 6         29.    Admitted.
 7                               STATEMENT OF FACTS
 8   I.    Defendants targeted human rights organizations that provided
           humanitarian aid and legal counsel to families migrating to the United
 9         States for refuge.
10         30.    Defendants lack knowledge or information sufficient to form a belief
11   about the truth of the allegations in this paragraph.
12         31.    Denied.
13         32.    The allegations in this paragraph that Defendants “detained,” “many”
14   individuals at the border, are unduly vague such that an answer is not required. To
15   the extent an answer is deemed necessary, denied.
16         33.    CBP admits that it had an operation dubbed “Operation Secure Line.”
17   Defendants otherwise deny the allegations contained in the first sentence of this
18   paragraph. The remaining allegations in this paragraph characterize a press release, to
19   which no response is required. The Court is respectfully referred to the cited press
20   release, which can be found at https ://www.cbp.gov/newsroom/speeches-and-
21   statements/statement-commissioner-kevin-mcaleenan-us-customs-and- border, for a
22   full and accurate statement of its contents.
23         34.    The allegations of the first and third sentences of this paragraph
24   characterize a press release to which no response is required. The Court is respectfully
25   referred to the cited press release for a full and accurate statement of its contents.
26   Defendants lack knowledge or information sufficient to form a belief about the truth
27


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 1   of the allegations in the second sentence of this paragraph.
 2         35.    Defendants deny the allegations of the first sentence of this paragraph.
 3   The remaining allegations of this paragraph characterize news articles, to which no
 4   response is required. The Court is respectfully referred to the cited publications for a
 5   full and accurate statement of their contents.
 6   II.   Defendants unlawfully collected large troves of personal and First
           Amendment-protected information on humanitarian and legal workers.
 7
           36.    Defendants deny the creation of a “secret database” of 59 individuals
 8
     including Plaintiffs. Defendants aver that CBP created a PowerPoint document which
 9
     referenced certain individuals, including Plaintiffs. Defendants deny the allegations
10
     of “surveillance and intrusive seizures” in the first sentence. Defendants admit that
11
     certain individuals in the PowerPoint document are United States citizens.
12
           37.    The allegations of this paragraph characterize a news article, to which no
13
     response is required. The Court is respectfully referred to the cited publication for a
14
     full and accurate statement of its contents.
15
           38.    Denied.
16
           39.    Defendants admit the PowerPoint document was entitled “San Diego
17
     Sector Foreign Operations Branch: Migrant Caravan FY-2019, Suspected Organizers,
18
     Coordinators, Instigators and Media.” Defendants otherwise deny the allegations of
19
     this paragraph.
20
           40.    Defendants deny the allegations in the first sentence. Defendants CBP
21
     and FBI lack knowledge or information sufficient to form a belief about the truth of
22
     the allegations in the second sentence of this paragraph. ICE admits that it maintained
23
     the PowerPoint document on an internal SharePoint application that could be
24
     accessed by only by certain ICE personnel. Defendants otherwise deny the allegations
25
     in this paragraph.
26
           41.    Defendants deny the allegations in this paragraph of a “program of
27


                                                    6
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 1   surveillance and intrusive seizures.” Defendants admit that David Shaw, Special
 2   Agent in Charge of the San Diego office of Homeland Security Investigations (“HSI”)
 3   sent and e-mail dated December 1, 2018 (the “December 1, 2018 email”), to all of the
 4   agents in his area of responsibility. The remaining allegations of this paragraph
 5   characterize that email and a news article, to which no response is required. The Court
 6   is respectfully referred to the December 1, 2018 email and news article for a full and
 7   accurate statement of their contents.
 8          42.    Defendants deny the allegations in the first sentence of this paragraph.
 9   Defendants admit that the first page of the PowerPoint document contains an emblem
10   with both a Mexican and American flag, as well as “ILU-OASSIS-OMEGA.”
11   Defendants admit that notation refers to the International Liaison Unit, a government
12   component that coordinates intelligence sharing between Mexico and the United
13   States, and the Operation Against Smugglers Initiative on Safety and Security.
14   Defendants otherwise deny the allegations in this paragraph.
15          43.    Admitted.
16          44.    Denied.
17          45.    Defendants deny the allegations of the first and fourth sentences in this
18   paragraph. The allegations in the second and third sentences of this paragraph
19   characterize the PowerPoint document, to which no response is required. The Court
20   is respectfully referred to the PowerPoint document for a full and accurate statement
21   of its contents.
22          46.    The allegations in this paragraph characterize the PowerPoint document,
23   to which no response is required. The Court is respectfully referred to the PowerPoint
24   document for a full and accurate statement of its contents.
25          47.    Denied.
26          48.    Denied.
27          49.    Defendants deny the allegations in the first sentence of this paragraph.


                                                 7
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 1   As to the allegations in the second sentence, pertaining to whether certain “agents and
 2   employees of Defendants across the United States-Mexico border had access to
 3   information in the list,” these allegations are unduly vague, such that no answer is
 4   required. To the extent a response is required, denied. Defendants deny the remaining
 5   allegations of the third sentence of this paragraph. The allegations in the fourth
 6   sentence of this paragraph characterize the December 1, 2018 email, to which no
 7   response is required. The Court is respectfully referred to the December 1, 2018 email
 8   for a full and accurate statement of its contents.
 9           50.   No answer is required for the first sentence of this paragraph because it
10   contains Plaintiffs’ characterization of this lawsuit, speculation, and legal conclusions.
11   To the extent a response is required, CBP denies the allegations in the first sentence
12   of the paragraph. CBP admits the existence of CBP Directive No. 2130-021. The
13   remaining allegations in this paragraph characterize CBP Directive No. 2130-021, to
14   which no response is required. The Court is respectfully referred to CBP Directive
15   No. 2130-021 for a full and accurate statement of its contents.
16   III.    After the secret program’s disclosure, Defendants offered shifting
             justifications for their unlawful surveillance and seizures.
17
             51.   No answer is required for this paragraph because it contains Plaintiffs’
18
     characterization of this lawsuit and argument. To the extent a response is required,
19
     deny.
20
             52.   This paragraph characterizes a statement from CBP. The Court is
21
     respectfully referred to the cited statement for a full and accurate statement of its
22
     contents.
23
             53.   The first sentence of this paragraph characterizes a statement from CBP.
24
     The Court is respectfully referred to the cited statement for a full and accurate
25
     statement of its contents. The second sentence, alleging that Defendants maintain
26
     “no such suspicion against Plaintiffs” is unduly vague, such that no answer is required.
27


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 1   To the extent a response is required, denied.
 2         54.    Defendants admit that the statement from CBP references “varying
 3   terrain” and “the threats of smugglers and traffickers.” To the extent this paragraph
 4   characterizes a statement from CBP, the Court is respectfully referred to the cited
 5   statement for a full and accurate statement of its contents.
 6         55.    This paragraph contains Plaintiffs’ characterization of a news report, to
 7   which no response is required. The Court is respectfully referred to the cited news
 8   report for a full and accurate statement of its contents.
 9         56.    No answer is required for the first sentence of this paragraph because it
10   contains Plaintiffs’ characterization of this lawsuit and argument. To the extent a
11   response is required, deny. The second and third sentences of this paragraph contains
12   a news article’s characterization of statements made by CBP, to which no response is
13   required. The Court is respectfully referred to the cited statement for a full and
14   accurate statement of its contents.
15         57.    Denied.
16         58.    Defendants lack knowledge or information sufficient to form a belief
17   about the truth of the allegations in this paragraph.
18         59.     Defendants lack knowledge or information sufficient to form a belief
19   about the truth of the allegations in this paragraph.
20         60.    This paragraph characterizes a statement from CBP. The Court is
21   respectfully referred to the cited statement for a full and accurate statement of its
22   contents.
23   IV.   Defendants’ surveillance and seizure program violated Plaintiffs’ First
           and Fourth Amendment rights.
24
           A.     Al Otro Lado provides humanitarian assistance and legal services
25                to migrant and deportees in the United States and Mexico.
26         61.    Defendants lack knowledge or information sufficient to form a belief
27


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 1   about the truth of the allegations in this paragraph.
 2          62.    Defendants lack knowledge or information sufficient to form a belief
 3   about the truth of the allegations in this paragraph.
 4          63.    The allegations in this paragraph characterize a separate lawsuit against
 5   DHS, to which no response is required. The Court is respectfully referred to this
 6   lawsuit for a full and accurate statement of its contents.
 7          B.     Defendants’ suspicionless investigation targeted Plaintiffs Nora
                   Phillips and resulted in her detention and deportation from
 8                 Mexico.
 9          64.    Defendants lack knowledge or information sufficient to form a belief
10   about the truth of the allegations in this paragraph.
11          65.    Defendants lack knowledge or information sufficient to form a belief
12   about the truth of the allegations in this paragraph.
13          66.    Defendants admit that Phillips was issued a valid Secure Electronic
14   Network for Travelers Rapid Inspection (“SENTRI”) membership card. Defendants
15   lack knowledge or information sufficient to form a belief about the truth of the
16   allegations in this paragraph.
17         67.     Defendants admit that the SENTRI program is a CBP program that
18   allows expedited clearance for pre-approved, low-risk travelers upon arrival in the
19   United States. Defendants further admit that participants in the SENTRI program
20   may enter the United States by using dedicated primary lanes into the United States at
21   Southern Land border ports. Defendants further admit that membership in the
22   SENTRI program is valid for five years, unless revoked; that membership in the
23   SENTRI program may be revoked based upon a criminal conviction, a customs or
24   immigration charge, or a declaration of inadmissibility. Defendants further admit that
25   the total cost of a SENTRI application and registration of one vehicle is $122.25.
26          68.    Defendants lack knowledge or information sufficient to form a belief
27


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 1   about the truth of the allegations in the first sentence of this paragraph. The remaining
 2   allegations in this paragraph characterize the PowerPoint document, to which no
 3   response is required. The Court is respectfully referred to the PowerPoint document
 4   for a full and accurate statement of its contents
 5          69.    Denied.
 6          70.    Defendants lack knowledge or information sufficient to form a belief
 7   about the truth of the allegations in this paragraph.
 8          71.    Defendants lack knowledge or information sufficient to form a belief
 9   about the truth of the allegations in this paragraph.
10          72.    Defendants admit that Phillips travelled out of the United States on
11   January 31, 2019. Defendants lack knowledge or information sufficient to form a
12   belief about the truth of the allegations in this paragraph.
13          73.    Defendants lack knowledge or information sufficient to form a belief
14   about the truth of the allegations in this paragraph.
15          74.    Defendants lack knowledge or information sufficient to form a belief
16   about the truth of the allegations in this paragraph.
17          75.    Defendants lack knowledge or information sufficient to form a belief
18   about the truth of the allegations in this paragraph.
19          76.    Defendants lack knowledge or information sufficient to form a belief
20   about the truth of the allegations in this paragraph.
21          77.    Defendants lack knowledge or information sufficient to form a belief
22   about the truth of the allegations in this paragraph.
23          78.    Defendants lack knowledge or information sufficient to form a belief
24   about the truth of the allegations in this paragraph.
25          79.    Defendants lack knowledge or information sufficient to form a belief
26   about the truth of the allegations in this paragraph.
27          80.    Defendants lack knowledge or information sufficient to form a belief


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 1   about the truth of the allegations in this paragraph.
 2          81.    Defendants lack knowledge or information sufficient to form a belief
 3   about the truth of the allegations in this paragraph.
 4          82.    Defendants lack knowledge or information sufficient to form a belief
 5   about the truth of the allegations in this paragraph.
 6          83.    Defendants lack knowledge or information sufficient to form a belief
 7   about the truth of the allegations in this paragraph.
 8          84.    Defendants lack knowledge or information sufficient to form a belief
 9   about the truth of the allegations in this paragraph.
10          85.    Defendants lack knowledge or information sufficient to form a belief
11   about the truth of the allegations in this paragraph.
12          86.    Defendants lack knowledge or information sufficient to form a belief
13   about the truth of the allegations in this paragraph.
14          87.    Defendants lack knowledge or information sufficient to form a belief
15   about the truth of the allegations in this paragraph.
16          88.    Defendants lack knowledge or information sufficient to form a belief
17   about the truth of the allegations in this paragraph.
18          89.    Defendants lack knowledge or information sufficient to form a belief
19   about the truth of the allegations in this paragraph.
20          90.    Defendants lack knowledge or information sufficient to form a belief
21   about the truth of the allegations in this paragraph.
22          91.    Defendants admit that Phillips entered the United States on February 1,
23   2019. Defendants lack knowledge or information sufficient to form a belief about the
24   truth of the allegations in this paragraph.
25          92.    Defendants lack knowledge or information sufficient to form a belief
26   about the truth of the allegations in this paragraph.
27          93.    Defendants lack knowledge or information sufficient to form a belief


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 1   about the truth of the allegations in this paragraph.
 2         94.    Defendants lack knowledge or information sufficient to form a belief
 3   about the truth of the allegations in this paragraph.
 4         95.    Defendants admit that Phillips applied to renew her SENTRI
 5   membership on June 3, 2019. Defendants deny the remaining allegations in this
 6   paragraph. CBP avers that there is currently a 52-week backlog for the review of
 7   SENTRI applications. CBP further avers that it announced in February 2019, well
 8   before the filing of this lawsuit, that SENTRI members could continue to use their
 9   memberships for up to one year after the expiration.
10         96.    Defendants admit the allegation in the first sentence of this paragraph
11   that Phillips passed a background check in connection with her original SENTRI
12   application. Defendants lack knowledge or information sufficient to form a belief
13   about the truth of the remaining allegations in this paragraph.
14         97.    Defendants lack knowledge or information sufficient to form a belief
15   about the truth of the allegations in this paragraph.
16         98.    Defendants lack knowledge or information sufficient to form a belief
17   about the truth of the allegations in this paragraph.
18         99.    Defendants deny the allegation in this paragraph that review of Phillips’
19   SENTRI application was delayed without explanation. CBP avers that there is
20   currently a 52-week backlog for the review of SENTRI applications. CBP further
21   avers that it announced in February 2019, well before the filing of this lawsuit, that
22   SENTRI members could continue to use their memberships for up to one year after
23   the expiration. Defendants lack knowledge or information sufficient to form a belief
24   about the truth of the remaining allegations in this paragraph.
25         100. Defendants lack knowledge or information sufficient to form a belief
26   about the truth of the allegations in this paragraph.
27


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            C.    Erika Pinheiro’s detention and deportation as a result of
 1
                  Defendants’ unlawful targeting of her.
 2          101. Defendants lack knowledge or information sufficient to form a belief
 3   about the truth of the allegations in this paragraph.
 4          102. Defendants lack knowledge or information sufficient to form a belief
 5   about the truth of the allegations in the first sentence of this paragraph. Defendants
 6   admit that Pinheiro is identified in the PowerPoint document, but otherwise deny the
 7   allegations in the second sentence of this paragraph.
 8          103. Defendants admit that Pinheiro travelled from Mexico to the United
 9   States three times on January 29, 2019. Defendants lack knowledge or information
10   sufficient to form a belief about the truth of the allegations in this paragraph.
11          104. Defendants lack knowledge or information sufficient to form a belief
12   about the truth of the allegations in this paragraph.
13          105. Defendants lack knowledge or information sufficient to form a belief
14   about the truth of the allegations in this paragraph.
15          106. Defendants deny the allegations contained in the first sentence of this
16   paragraph. Defendants lack knowledge or information sufficient to form a belief
17   about the truth of the remaining allegations in this paragraph.
18          107. Defendants lack knowledge or information sufficient to form a belief
19   about the truth of the allegations in this paragraph.
20          108. Defendants lack knowledge or information sufficient to form a belief
21   about the truth of the allegations in this paragraph.
22          109. Defendants lack knowledge or information sufficient to form a belief
23   about the truth of the allegations in this paragraph.
24          110. Defendants lack knowledge or information sufficient to form a belief
25   about the truth of the allegations in this paragraph.
26          111. Defendants lack knowledge or information sufficient to form a belief
27


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 1   about the truth of the allegations in this paragraph.
 2         112. Defendants lack knowledge or information sufficient to form a belief
 3   about the truth of the allegations in this paragraph.
 4         113. Defendants lack knowledge or information sufficient to form a belief
 5   about the truth of the allegations in this paragraph.
 6         114. Defendants lack knowledge or information sufficient to form a belief
 7   about the truth of the allegations in this paragraph.
 8         115. Defendants lack knowledge or information sufficient to form a belief
 9   about the truth of the allegations in this paragraph.
10         116. Denied.
11         117. Defendants lack knowledge or information sufficient to form a belief
12   about the truth of the allegations in this paragraph.
13         118. Defendants lack knowledge or information sufficient to form a belief
14   about the truth of the allegations in this paragraph.
15         119. Defendants lack knowledge or information sufficient to form a belief
16   about the truth of the allegations in this paragraph.
17         120. Defendants deny the allegations of “secret surveillance” in the first
18   sentence of this paragraph. Defendants lack knowledge or information sufficient to
19   form a belief about the truth of the remaining allegations in the first sentence of this
20   paragraph. Defendants admit that Pinheiro has crossed the border between the
21   United States and Mexico more than 40 times since January 29, 2019. Defendants
22   lack knowledge or information sufficient to form a belief about the truth of the
23   remaining allegations in this paragraph.
24         D.     Nathaniel Dennison’s detention and interrogation by
                  Defendants.
25
           121. Defendants lack knowledge or information sufficient to form a belief
26
     about the truth of the allegations in this paragraph.
27


                                                 15
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 1          122. Defendants lack knowledge or information sufficient to form a belief
 2   about the truth of the allegations in this paragraph.
 3          123. Defendants lack knowledge or information sufficient to form a belief
 4   about the truth of the allegations in this paragraph.
 5          124. Defendants lack knowledge or information sufficient to form a belief
 6   about the truth of the allegations in this paragraph.
 7          125. Defendants lack knowledge or information sufficient to form a belief
 8   about the truth of the allegations in this paragraph.
 9          126. Defendants lack knowledge or information sufficient to form a belief
10   about the truth of the allegations in this paragraph.
11          127. Defendants lack knowledge or information sufficient to form a belief
12   about the truth of the allegations in this paragraph.
13          128. Defendants admit that a group of migrants attempted to illegally cross
14   the border between Mexico and the United States on January 1, 2019, leading in some
15   instances to confrontations with federal law enforcement agents. Defendants lack
16   knowledge or information sufficient to form a belief about the truth of the remaining
17   allegations in this paragraph.
18          129. Defendants deny that Dennison presented himself for inspection at a
19   United States port of entry on January 10, 2020. Defendants aver that Dennison
20   presented himself for inspection at a United States port of entry on January 11, 2020.
21   Defendants admit that Dennison was interviewed upon his application for entry on
22   January 11, 2020, and that the interview was conducted in the secondary inspection
23   area of the San Ysidro port of entry. Defendants lack knowledge or information
24   sufficient to form a belief about the truth of the remaining allegations in this
25   paragraph.
26          130. Defendants lack knowledge or information sufficient to form a belief
27   about the truth of the allegations in the first sentence of this paragraph. Defendants


                                                 16
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 1   admit that the secondary inspection area contains benches and cubicles. Defendants
 2   deny the remaining allegations in this paragraph.
 3         131. Defendants admit that Dennison was questioned in the secondary
 4   inspection area as part of his border inspection. Defendants lack knowledge or
 5   information sufficient to form a belief about the truth of the allegations in the first
 6   sentence of this paragraph, that Mr. Dennison was escorted to a different “walled-off
 7   area that featured individual desks and chairs.” Defendants deny that Dennison was
 8   question by a HSI officer, and aver that Dennison was questioned by CBP officers.
 9   Defendants lack knowledge or information sufficient to form a belief about the truth
10   of the remaining allegations in the second sentence of this paragraph. Defendants
11   otherwise deny the allegations in this paragraph.
12         132. Defendants deny that questions asked of Mr. Dennison were “invasive.”
13   Defendants lack knowledge or information sufficient to form a belief about the truth
14   of the remaining allegations in this paragraph.
15         133. Defendants lack knowledge or information sufficient to form a belief
16   about the truth of the allegations in this paragraph.
17         134. Defendants deny that a CBP officer “forcefully suggest[ed] that Mr.
18   Dennison was an organizer of the caravan.” Defendants admit that Mr. Dennison
19   denied being an organizer of the caravan.
20         135. Defendants lack knowledge or information sufficient to form a belief
21   about the truth of the allegations in this paragraph
22         136.    Defendants lack knowledge or information sufficient to form a belief
23   about the truth of the allegations in this paragraph
24         137. Defendants lack knowledge or information sufficient to form a belief
25   about the truth of the allegations in this paragraph
26         138. Defendants lack knowledge or information sufficient to form a belief
27   about the truth of the allegations in this paragraph


                                                 17
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 1         139. Defendants lack knowledge or information sufficient to form a belief
 2   about the truth of the allegations in this paragraph
 3         140. Defendants lack knowledge or information sufficient to form a belief
 4   about the truth of the allegations in this paragraph
 5         141. Defendants lack knowledge or information sufficient to form a belief
 6   about the truth of the allegations in this paragraph
 7         142. Defendants admit that Dennison was permitted to enter the United
 8   States following his border inspection. Defendants deny the remaining allegations in
 9   the first sentence of the paragraph.      Defendants lack knowledge or information
10   sufficient to form a belief about the truth of the allegations in second and third
11   sentences of this paragraph.
12         143. Defendants deny the allegation in the first sentence of this paragraph
13   that Dennison’s Mexican visa was confiscated. Defendants otherwise lack knowledge
14   or information sufficient to form a belief about the truth of the remaining allegations
15   in this paragraph.
16         144. Defendants lack knowledge or information sufficient to form a belief
17   about the truth of the allegations in this paragraph.
18         145. Defendants deny the allegations in the first concerning an
19   “interrogation” and “joint surveillance operation.” The remaining allegations in the
20   first sentence, that “Defendants distributed news of Mr. Dennison’s seizure” is unduly
21   vague, such that no answer is required. To the extent a response is required,
22   Defendants lack knowledge or information sufficient to form a belief about the truth
23   of the remaining allegations in this paragraph.
24         146. Defendants lack knowledge or information sufficient to form a belief
25   about the truth of the allegations in this paragraph.
26         147. Defendants deny the allegations in this paragraph of a “secret
27   government watchlist” and that Mr. Dennison was subject to an “intrusive seizure.”


                                                 18
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 1   Defendants lack knowledge or information sufficient to form a belief about the truth
 2   of the allegations in this paragraph.
 3          148. Defendants lack knowledge or information sufficient to form a belief
 4   about the truth of the allegations in this paragraph.
 5                                            CLAIMS
 6                                           First Claim

 7                            Violation of the First Amendment
                            (All Plaintiffs Against All Defendants)
 8
 9          149. Defendants incorporate their responses to paragraphs 1 through 148 as
10   though fully set forth herein.
11          150. Denied.
12          151. Denied.
13          152. Denied.
14          153. Denied.
15                                       Second Claim
                             Violation of the Fourth Amendment
16
                  (Plaintiff Nathaniel Dennison Against All Defendants)
17
18          154. Defendants incorporate their responses to paragraphs 1 through 153 as

19   though fully set forth herein.

20          155. Denied.

21          156. Denied.

22          157. Denied.

23          158. Denied.

24          159. Denied.

25                                    PRAYER FOR RELIEF

26          160. Defendants admit that Plaintiffs seek certain relief, deny that Plaintiffs

27   are entitled to such relief, and deny the allegations in paragraphs (a) through (f).


                                                  19
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                               AFFIRMATIVE DEFENSES
 1
 2         1.    Plaintiffs have failed to state a claim upon which relief may be granted.

 3         2.    Plaintiffs’ claims are not justiciable.

 4         3.    Plaintiffs’ have suffered no legally cognizable harm.

 5         4.    Plaintiffs’ requested relief is impermissibly vague and unenforceable.

 6         5.    Defendants’ actions were lawful and/or in furtherance of a compelling

 7   government interest.

 8   Dated: April 14, 2019                    Respectfully submitted,
 9
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10                                            Assistant Attorney General
                                              Civil Division
11
12                                            BRIGHAM J. BOWEN
                                              Assistant Branch Director
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